AO 257 (Rev. 6/78)           Case 3:23-cr-00449-SI Document 12-2 Filed 12/05/23 Page 1 of 1

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                INDICTMENT                             Name of District Court, and/or Judge/Magistrate Location
                                                             SUPERSEDING                              NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                SAN FRANCISCO DIVISION
 18 U.S.C. § 1111 - Second Degree Murder                                 Petty

                                                                         Minor               DEFENDANT - U.S
                                                                         Misde-
                                                                         meanor
                                                                                            LEION BUTLER
                                                                         Felony
                                                                                                DISTRICT COURT NUMBER
PENALTY:      max life imprisonment; $250,000 fine; 5 years' supervised release;
              $100 special assessment; forfeiture; restitution
                                                                                                    CR23-00449SI


                                                                                                                          DEFENDANT
                                                                                                                                               FILED
                             PROCEEDING                                                           IS NOT IN CUSTODY                             Dec 05 2023
                                                                                                    Has not been arrested, pending outcome    Markthis  proceeding.
                                                                                                                                                     B. Busby
  Name of Complaintant Agency, or Person (& Title, if any)                                 1)       If not detained give date any prior CLERK, U.S. DISTRICT COURT
                     FBI Special Agent Casey Smith
                                                                                                    summons was served on above    NORTHERN     
                                                                                                                                      chargesDISTRICT OF CALIFORNIA
                                                                                                                                               SAN FRANCISCO

       person is awaiting trial in another Federal or State Court,                         2)       Is a Fugitive
       give name of court
                                                                                           3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                  IS IN CUSTODY
                                                                                           4)       On this charge
       this is a reprosecution of

                                                                                                                                     }
       charges previously dismissed                                                        5)       On another conviction
       which were dismissed on motion                           SHOW                                                                           Federal         State


                                                       }
       of:                                                    DOCKET NO.
                                                                                           6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                     If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                              }
                                                                                                                    Yes            If "Yes"
       pending case involving this same                                                         Has detainer
                                                                                                                                   give date
       defendant                                              MAGISTRATE                        been filed?         No             filed


                                                       }
                                                               CASE NO.
       prior proceedings or appearance(s)                                                       DATE OF
                                                                                                ARREST
                                                                                                                          Month/Day/Year
                                                                                                                                11/20/2023
       before U.S. Magistrate regarding this
                                                           3:23-mj-71733
       defendant were recorded under                                                            Or... if Arresting Agency & Warrant were not

                                                                                                                                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form                 Ismail J. Ramsey
                                                                                                DATE TRANSFERRED
                                                                                                TO U.S. CUSTODY
                                                                                                                              
                                U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                               This report amends AO 257 previously submitted
Attorney (if assigned)                     Kelsey C. Davidson
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*                WARRANT               Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                     * Where defendant previously apprehended on complaint, no new summons or
                                                                                   warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                   Date/Time:                                 Before Judge:

        Comments:
